Case 2:96-cV-02520-.]PI\/| Document 831 Filed 06/03/05 Page 1 of 5 Page|D 1059

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IN THE UNITED sTATEs DISTRICT COURT _____ D'c
FoR THE wES'rERN DISTRICT oF TENNESSEE 05 JUN-G AH 6= 52
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YEHTQ F§Pmm
VE:LERK, U.s. DrST. ct

DARIUS D. LITTLE, D“ OF' TN' ME"\»"F‘H.!$

Plaintiff,
NO. 96-2520 Ml

ve

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

 

ORDER OF CORRECTION

 

The Court hereby corrects the Order issued in this case on
June 21, 2001, {Docket No. 436.), as follows: the word
“provisions” appearing on the third line of page four shall be
replaced With the word “conditions.” The Court has attached a
corrected version of page four of the June 21, 2001, order as
Appendix A. The Clerk is hereby ORDERED to replace page four of
the June 21, 2001, order with the corrected version attached as

Appendix A.

So oRDERED this 22 th day of June, 2005.

.Qm(QQQ@

JON P. MCCALLA
U`N ED STATES DISTRICT JUDGE

  
   

 

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thh Fiu|e 58 and/or 79(3) FHCP on

 

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APPENDIX A

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Defendants have now put forward a plan that, if augmented and
implemented fully, has the potential to remedy the unconstitutional

conditions in the Jail.

II. Purgation Standards
In a civil contempt proceeding, the burden is on the
petitioner to “prove by clear and convincing evidence that the
respondent violated the court's prior order.” Glover v. Johnson,
934 F.Zd 703, 707 (6th Cir. 1991). A party may be found in
contempt if the petitioner shows that the respondent “violate[d] a
definite and specific order of the court requiring him to perform

or refrain from performing a particular act or acts with knowledge

 

of the court's order.'r ;d; (quoting NRLB v. Cincinnati Bronze,
lng;, 829 F.2d 585, 591 (6th Cir. 1987)). In a contempt
proceeding, “the basic proposition [is] that all orders and
judgments of courts must be complied with promptly.” NRLB, 829

 

F.Zd at 590 (quoting Jim Walter Res., Inc, v. Int'l Unionl United
Mine Workers, 609 F.Zd 165, 168 (5th Cir. 1980)). As the Sixth
Circuit has held, “civil contempt may be either intended to coerce
future compliance with a court's order, or to compensate for the
injuries resulting from the noncompliance.” Glover v. Johnson, 199
F.3d 310, 313 (6th Cir. 1999)(internal citations omitted). Good
faith is not a defense in civil contempt proceedings. Glover, 934

F.2d at 708. Likewise, willfulness is not an element of civil

   

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Honorable J on McCalla
US DISTRICT COURT

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